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 7
                            UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9

10        ROSE TANUVASA,                            Case No. CV 20-10190 MRW
11                   Plaintiff,
12             v.                                    [PROPOSED] STIPULATED
                                                     PROTECTIVE ORDER
13        ALEJANDRO MAYORKAS ,
          SECRETARY, UNITED STATES                   (MRW VERSION 4/19)
14        DEPARTMENT OF HOMELAND
          SECURITY,                                 ‫ ܈‬Check if submitted without
15
                     Defendant.                     material modifications to MRW form
16

17

18   1.      INTRODUCTION
19           1.1    PURPOSES AND LIMITATIONS
20           Discovery in this action is likely to involve production of confidential,
21   proprietary, or private information for which special protection from public
22   disclosure and from use for any purpose other than prosecuting this litigation may
23   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
24   enter the following Stipulated Protective Order. The parties acknowledge that this
25   Order does not confer blanket protections on all disclosures or responses to
26   discovery and that the protection it affords from public disclosure and use extends
27   only to the limited information or items that are entitled to confidential treatment
28   under the applicable legal principles. The parties further acknowledge, as set forth
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 1   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
 2   file confidential information under seal; Civil Local Rule 79-5 sets forth the
 3   procedures that must be followed and the standards that will be applied when a party
 4   seeks permission from the court to file material under seal.
 5         1.2    GOOD CAUSE STATEMENT
 6         Good cause exists for the entry of a protective order in this sexual harassment
 7   case, brought pursuant to Title VII of the Civil Rights Act of 1964, where Plaintiff
 8   seeks discovery regarding corrective, disciplinary and/or personnel actions taken
 9   with regard to the alleged harasser, and other claims that may have been made
10   against the alleged harasser by other employees. Unprotected disclosure of non-
11   party employee disciplinary histories, personnel actions and other personal
12   information would be an undue burden on Defendant and could result in
13   unnecessary harm to these employees, including embarrassment and invasion of
14   their privacy. See Fed. R. Civ. P. 26(c)(1). Accordingly, to expedite the flow of
15   information, to facilitate the prompt resolution of disputes over confidentiality of
16   discovery materials, to adequately protect information the parties are entitled to keep
17   confidential, to ensure that the parties are permitted reasonable necessary uses of
18   such material in preparation for and in the conduct of trial, to address their handling
19   at the end of the litigation, and to serve the ends of justice, a protective order for
20   such information is justified in this matter. It is the intent of the parties that
21   information will not be designated as confidential for tactical reasons and that
22   nothing be so designated without a good faith belief that it qualifies for protection
23   under the terms of this Stipulated Protective Order.
24   2.    DEFINITIONS
25         2.1    Action: This pending federal law suit.
26         2.2    Challenging Party: a Party or Non-Party that challenges the
27   designation of information or items under this Order.
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 1          2.3    “CONFIDENTIAL” Information or Items: information (regardless of
 2   how it is generated, stored or maintained) or tangible things that qualify for
 3   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 4   the Good Cause Statement.
 5          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
 6   their support staff).
 7          2.5    Designating Party: a Party or Non-Party that designates information or
 8   items that it produces in disclosures or in responses to discovery as
 9   “CONFIDENTIAL.”
10          2.6    Disclosure or Discovery Material: all items or information, regardless
11   of the medium or manner in which it is generated, stored, or maintained (including,
12   among other things, testimony, transcripts, and tangible things), that are produced or
13   generated in disclosures or responses to discovery in this matter.
14          2.7    Expert: a person with specialized knowledge or experience in a matter
15   pertinent to the litigation who has been retained by a Party or its counsel to serve as
16   an expert witness or as a consultant in this Action.
17          2.8    House Counsel: attorneys who are employees of a party to this Action.
18   House Counsel does not include Outside Counsel of Record or any other outside
19   counsel.
20          2.9    Non-Party: any natural person, partnership, corporation, association, or
21   other legal entity not named as a Party to this action.
22          2.10 Outside Counsel of Record: attorneys who are not employees of a
23   party to this Action but are retained to represent or advise a party to this Action and
24   have appeared in this Action on behalf of that party or are affiliated with a law firm
25   which has appeared on behalf of that party, and includes support staff.
26          2.11 Party: any party to this Action, including all of its officers, directors,
27   employees, consultants, retained experts, and Outside Counsel of Record (and their
28   support staffs).
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 1         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 2   Discovery Material in this Action.
 3         2.13 Professional Vendors: persons or entities that provide litigation
 4   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 5   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 6   and their employees and subcontractors.
 7         2.14 Protected Material: any Disclosure or Discovery Material that is
 8   designated as “CONFIDENTIAL.”
 9         2.15 Receiving Party: a Party that receives Disclosure or Discovery
10   Material from a Producing Party.
11

12   3.    SCOPE
13         The protections conferred by this Stipulation and Order cover not only
14   Protected Material (as defined above), but also (1) any information copied or
15   extracted from Protected Material; (2) all copies, excerpts, summaries, or
16   compilations of Protected Material; and (3) any testimony, conversations, or
17   presentations by Parties or their Counsel that might reveal Protected Material.
18         Any use of Protected Material at trial will be governed by the orders of the
19   trial judge. This Order does not govern the use of Protected Material at trial.
20

21   4.    DURATION
22         Even after final disposition of this litigation, the confidentiality obligations
23   imposed by this Order will remain in effect until a Designating Party agrees
24   otherwise in writing or a court order otherwise directs. Final disposition will be
25   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
26   or without prejudice; and (2) final judgment herein after the completion and
27   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
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 1   including the time limits for filing any motions or applications for extension of time
 2   pursuant to applicable law.
 3

 4   5.    DESIGNATING PROTECTED MATERIAL
 5         5.1    Exercise of Restraint and Care in Designating Material for Protection.
 6   Each Party or Non-Party that designates information or items for protection under
 7   this Order must take care to limit any such designation to specific material that
 8   qualifies under the appropriate standards. The Designating Party must designate for
 9   protection only those parts of material, documents, items, or oral or written
10   communications that qualify so that other portions of the material, documents,
11   items, or communications for which protection is not warranted are not swept
12   unjustifiably within the ambit of this Order.
13         Mass, indiscriminate, or routinized designations are prohibited. Designations
14   that are shown to be clearly unjustified or that have been made for an improper
15   purpose (e.g., to unnecessarily encumber the case development process or to impose
16   unnecessary expenses and burdens on other parties) may expose the Designating
17   Party to sanctions.
18         If it comes to a Designating Party’s attention that information or items that it
19   designated for protection do not qualify for protection, that Designating Party must
20   promptly notify all other Parties that it is withdrawing the inapplicable designation.
21         5.2    Manner and Timing of Designations. Except as otherwise provided in
22   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
23   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
24   under this Order must be clearly so designated before the material is disclosed or
25   produced.
26         Designation in conformity with this Order requires:
27         (a) for information in documentary form (e.g., paper or electronic documents,
28   but excluding transcripts of depositions or other pretrial or trial proceedings), that
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 1   the Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
 2   “CONFIDENTIAL legend”), to each page that contains protected material. If only a
 3   portion or portions of the material on a page qualifies for protection, the Producing
 4   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
 5   markings in the margins).
 6                 A Party or Non-Party that makes original documents available for
 7   inspection need not designate them for protection until after the inspecting Party has
 8   indicated which documents it would like copied and produced. During the
 9   inspection and before the designation, all of the material made available for
10   inspection will be deemed “CONFIDENTIAL.” After the inspecting Party has
11   identified the documents it wants copied and produced, the Producing Party must
12   determine which documents, or portions thereof, qualify for protection under this
13   Order. Then, before producing the specified documents, the Producing Party must
14   affix the “CONFIDENTIAL legend” to each page that contains Protected Material.
15   If only a portion or portions of the material on a page qualifies for protection, the
16   Producing Party also must clearly identify the protected portion(s) (e.g., by making
17   appropriate markings in the margins).
18         (b) for testimony given in depositions that the Designating Party identify the
19   Disclosure or Discovery Material on the record, before the close of the deposition all
20   protected testimony.
21         (c) for information produced in some form other than documentary and for
22   any other tangible items, that the Producing Party affix in a prominent place on the
23   exterior of the container or containers in which the information is stored the legend
24   “CONFIDENTIAL.” If only a portion or portions of the information warrants
25   protection, the Producing Party, to the extent practicable, will identify the protected
26   portion(s).
27         5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
28   failure to designate qualified information or items does not, standing alone, waive
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 1   the Designating Party’s right to secure protection under this Order for such material.
 2   Upon timely correction of a designation, the Receiving Party must make reasonable
 3   efforts to assure that the material is treated in accordance with the provisions of this
 4   Order.
 5

 6   6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
 7             6.1   Timing of Challenges. Any Party or Non-Party may challenge a
 8   designation of confidentiality at any time that is consistent with the Court’s
 9   Scheduling Order.
10             6.2   Meet and Confer. The Challenging Party will initiate the dispute
11   resolution process (and, if necessary, file a discovery motion) under Local Rule 37.1
12   et seq.
13             6.3   The burden of persuasion in any such challenge proceeding will be on
14   the Designating Party. Frivolous challenges, and those made for an improper
15   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
16   parties) may expose the Challenging Party to sanctions. Unless the Designating
17   Party has waived or withdrawn the confidentiality designation, all parties will
18   continue to afford the material in question the level of protection to which it is
19   entitled under the Producing Party’s designation until the Court rules on the
20   challenge.
21

22   7.        ACCESS TO AND USE OF PROTECTED MATERIAL
23             7.1   Basic Principles. A Receiving Party may use Protected Material that is
24   disclosed or produced by another Party or by a Non-Party in connection with this
25   Action only for prosecuting, defending, or attempting to settle this Action. Such
26   Protected Material may be disclosed only to the categories of persons and under the
27   conditions described in this Order. When the Action has been terminated, a
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 1   Receiving Party must comply with the provisions of section 13 below (FINAL
 2   DISPOSITION).
 3         Protected Material must be stored and maintained by a Receiving Party at a
 4   location and in a secure manner that ensures that access is limited to the persons
 5   authorized under this Order.
 6         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
 7   otherwise ordered by the court or permitted in writing by the Designating Party, a
 8   Receiving Party may disclose any information or item designated
 9   “CONFIDENTIAL” only to:
10               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
11   well as employees of said Outside Counsel of Record to whom it is reasonably
12   necessary to disclose the information for this Action;
13               (b) the officers, directors, and employees (including House Counsel) of
14   the Receiving Party to whom disclosure is reasonably necessary for this Action;
15               (c) Experts (as defined in this Order) of the Receiving Party to whom
16   disclosure is reasonably necessary for this Action and who have signed the
17   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
18               (d) the Court and its personnel;
19               (e) court reporters and their staff;
20               (f) professional jury or trial consultants, mock jurors, and Professional
21   Vendors to whom disclosure is reasonably necessary for this Action and who have
22   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
23               (g) the author or recipient of a document containing the information or a
24   custodian or other person who otherwise possessed or knew the information;
25               (h) during their depositions, witnesses ,and attorneys for witnesses, in the
26   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
27   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
28   will not be permitted to keep any confidential information unless they sign the
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 1   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
 2   agreed by the Designating Party or ordered by the court. Pages of transcribed
 3   deposition testimony or exhibits to depositions that reveal Protected Material may
 4   be separately bound by the court reporter and may not be disclosed to anyone except
 5   as permitted under this Stipulated Protective Order; and
 6             (i) any mediator or settlement officer, and their supporting personnel,
 7   mutually agreed upon by any of the parties engaged in settlement discussions.
 8

 9   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
10   IN OTHER LITIGATION
11         If a Party is served with a subpoena or a court order issued in other litigation
12   that compels disclosure of any information or items designated in this Action as
13   “CONFIDENTIAL,” that Party must:
14             (a) promptly notify in writing the Designating Party. Such notification
15   will include a copy of the subpoena or court order;
16             (b) promptly notify in writing the party who caused the subpoena or order
17   to issue in the other litigation that some or all of the material covered by the
18   subpoena or order is subject to this Protective Order. Such notification will include
19   a copy of this Stipulated Protective Order; and
20             (c) cooperate with respect to all reasonable procedures sought to be
21   pursued by the Designating Party whose Protected Material may be affected.
22         If the Designating Party timely seeks a protective order, the Party served with
23   the subpoena or court order will not produce any information designated in this
24   action as “CONFIDENTIAL” before a determination by the court from which the
25   subpoena or order issued, unless the Party has obtained the Designating Party’s
26   permission. The Designating Party will bear the burden and expense of seeking
27   protection in that court of its confidential material and nothing in these provisions
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 1   should be construed as authorizing or encouraging a Receiving Party in this Action
 2   to disobey a lawful directive from another court.
 3

 4   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 5   PRODUCED IN THIS LITIGATION
 6             (a) The terms of this Order are applicable to information produced by a
 7   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
 8   produced by Non-Parties in connection with this litigation is protected by the
 9   remedies and relief provided by this Order. Nothing in these provisions should be
10   construed as prohibiting a Non-Party from seeking additional protections.
11             (b) In the event that a Party is required, by a valid discovery request, to
12   produce a Non-Party’s confidential information in its possession, and the Party is
13   subject to an agreement with the Non-Party not to produce the Non-Party’s
14   confidential information, then the Party will:
15                (1) promptly notify in writing the Requesting Party and the Non-Party
16   that some or all of the information requested is subject to a confidentiality
17   agreement with a Non-Party;
18                (2) promptly provide the Non-Party with a copy of the Stipulated
19   Protective Order in this Action, the relevant discovery request(s), and a reasonably
20   specific description of the information requested; and
21                (3) make the information requested available for inspection by the
22   Non-Party, if requested.
23             (c) If the Non-Party fails to seek a protective order from this court within
24   14 days of receiving the notice and accompanying information, the Receiving Party
25   may produce the Non-Party’s confidential information responsive to the discovery
26   request. If the Non-Party timely seeks a protective order, the Receiving Party will
27   not produce any information in its possession or control that is subject to the
28   confidentiality agreement with the Non-Party before a determination by the court.
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 1   Absent a court order to the contrary, the Non-Party will bear the burden and expense
 2   of seeking protection in this court of its Protected Material.
 3

 4   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 5         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 6   Protected Material to any person or in any circumstance not authorized under this
 7   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 8   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
 9   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
10   persons to whom unauthorized disclosures were made of all the terms of this Order,
11   and (d) request such person or persons to execute the “Acknowledgment and
12   Agreement to Be Bound” that is attached hereto as Exhibit A.
13

14   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
15   PROTECTED MATERIAL
16         When a Producing Party gives notice to Receiving Parties that certain
17   inadvertently produced material is subject to a claim of privilege or other protection,
18   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
19   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
20   procedure may be established in an e-discovery order that provides for production
21   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
22   (e), insofar as the parties reach an agreement on the effect of disclosure of a
23   communication or information covered by the attorney-client privilege or work
24   product protection, the parties may incorporate their agreement in the stipulated
25   protective order submitted to the court.
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 1   12.   MISCELLANEOUS
 2         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
 3   person to seek its modification by the Court in the future.
 4         12.2 Right to Assert Other Objections. By stipulating to the entry of this
 5   Protective Order no Party waives any right it otherwise would have to object to
 6   disclosing or producing any information or item on any ground not addressed in this
 7   Stipulated Protective Order. Similarly, no Party waives any right to object on any
 8   ground to use in evidence of any of the material covered by this Protective Order.
 9         12.3 Filing Protected Material. A Party that seeks to file under seal any
10   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
11   only be filed under seal pursuant to a court order authorizing the sealing of the
12   specific Protected Material at issue. If a Party's request to file Protected Material
13   under seal is denied by the court, then the Receiving Party may file the information
14   in the public record unless otherwise instructed by the court.
15

16   13.   FINAL DISPOSITION
17         After the final disposition of this Action, as defined in paragraph 4, within 60
18   days of a written request by the Designating Party, each Receiving Party must return
19   all Protected Material to the Producing Party or destroy such material. As used in
20   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
21   summaries, and any other format reproducing or capturing any of the Protected
22   Material. Whether the Protected Material is returned or destroyed, the Receiving
23   Party must submit a written certification to the Producing Party (and, if not the same
24   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
25   (by category, where appropriate) all the Protected Material that was returned or
26   destroyed and (2) affirms that the Receiving Party has not retained any copies,
27   abstracts, compilations, summaries or any other format reproducing or capturing any
28   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
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 1   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
 2   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
 3   reports, attorney work product, and consultant and expert work product, even if such
 4   materials contain Protected Material. Any such archival copies that contain or
 5   constitute Protected Material remain subject to this Protective Order as set forth in
 6   Section 4 (DURATION).
 7

 8   14.   Any willful violation of this Order may be punished by civil or criminal
 9   contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
10   authorities, or other appropriate action at the discretion of the Court.
11

12   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
13

14   DATED: October 8, 2021
15                                               ____/s/ Edward Blum______________
                                                 EDWARD J. BLUM
16                                               Attorneys for Plaintiff,
                                                 Rose Tanuvasa
17

18   DATED: October 8, 2021
                                             TRACY L. WILKISON
19                                           Acting United States Attorney
                                             DAVID M. HARRIS
20                                           Assistant United States Attorney
                                             Chief, Civil Division
21                                           JOANNE S. OSINOFF
                                             Assistant United States Attorney
22                                           Chief, General Civil Section
23                                           /s/ Alarice M. Medrano
24
                                             ALARICE M. MEDRANO
25                                           Assistant United States Attorney
26                                           Attorneys for Defendant Alejandro
                                             Mayorkas, Secretary, United States
27                                           Department of Homeland Security
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 1   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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 4          October 12, 2021
     DATED:_______________                 __________________________________
                                           HON. MICHAEL R. WILNER
 5                                         United States Magistrate Judge
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 1                                        EXHIBIT A
 2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3

 4         I, _____________________________ [full name], of _________________
 5   [full address], declare under penalty of perjury that I have read in its entirety and
 6   understand the Stipulated Protective Order that was issued by the United States
 7   District Court for the Central District of California on [date] in the case of Rose
 8   Tanuvasa v. Alejandro Mayorkas, Secretary, United States Department of
 9   Homeland Security, CV 20-10190 MRW. I agree to comply with and to be bound by
10   all the terms of this Stipulated Protective Order and I understand and acknowledge
11   that failure to so comply could expose me to sanctions and punishment in the nature
12   of contempt. I solemnly promise that I will not disclose in any manner any
13   information or item that is subject to this Stipulated Protective Order to any person
14   or entity except in strict compliance with the provisions of this Order.
15         I further agree to submit to the jurisdiction of the United States District Court
16   for the Central District of California for the purpose of enforcing the terms of this
17   Stipulated Protective Order, even if such enforcement proceedings occur after
18   termination of this action. I hereby appoint ______________________ [full name]
19   of __________________________________ [full address and telephone number]
20   as my California agent for service of process in connection with this action or any
21   proceedings related to enforcement of this Stipulated Protective Order.
22   Date: ______________________________________
23   City and State where signed: _________________________________
24   Printed name: _______________________________
25   Signature: __________________________________
26

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